               Case 2:19-cr-00177-JAM Document 61 Filed 04/14/20 Page 1 of 4


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-177-MCE
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   GILDARDO BARRIOS (a.k.a. Edgar                      DATE: April 2, 2020
     Munguia),                                           TIME: 10:00 a.m.
15   MARISA MUNGUIA,                                     COURT: Hon. Morrison C. England, Jr.
     MARIA DOLORES BARRIOS-ALVAREZ
16
                                  Defendants.
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            This case was set for a status conference on April 2, 2020, and moved to May 7, 2020, on the
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     Court’s on motion, citing the interests of public health and safety, and excluding time under the Speedy
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     Trial Act. The parties now request that the Court continue the status conference to July 16, 2020. To
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     the extent it is needed, this stipulation supplements the basis for exclusion of time under General Order
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     611 and requests that the Court also exclude time under Local Code T4, for the reasons set forth below.
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            On March 18, 2020, this Court issued General Order 612, with reference to General Order 611,
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     which together permit District Judges to continue all matters scheduled to occur before May 1, 2020,
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     until a date after that, and to exclude time under the Speedy Trial Act. These General Orders were
26
     entered to address public health concerns related to COVID-19.
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            Although the General Orders address the district-wide health concern, the Supreme Court has
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     emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
               Case 2:19-cr-00177-JAM Document 61 Filed 04/14/20 Page 2 of 4


 1 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 2 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 3 exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.

 4 at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 5 judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either

 6 orally or in writing”).

 7           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 8 and inexcusable—the General Order requires specific supplementation. Ends-of-justice continuances

 9 are excludable only if “the judge granted such continuance on the basis of his findings that the ends of

10 justice served by taking such action outweigh the best interest of the public and the defendant in a

11 speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets

12 forth, in the record of the case, either orally or in writing, its reason or finding that the ends of justice

13 served by the granting of such continuance outweigh the best interests of the public and the defendant in

14 a speedy trial.” Id.

15           The General Order excludes delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

16 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

17 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

18 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

19 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court
20 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

21 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

22 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

23 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

24           In light of the societal context created by the foregoing, this Court should consider the following

25 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

26 justice exception, § 3161(h)(7) (Local Code T4). If continued, this Court should designate a new date

27 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

28 pretrial continuance must be “specifically limited in time”).

       STIPULATION REGARDING EXCLUDABLE TIME                2
30     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00177-JAM Document 61 Filed 04/14/20 Page 3 of 4


 1                                                STIPULATION

 2          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 3 through defendants’ counsel of record, hereby stipulate as follows:

 4          1.      By previous order, this matter was set for status on April 2, 2020, and then continued to

 5 May 7, 2020, at 10:00 a.m., on the Court’s own motion.

 6          2.      By this stipulation, the defendants now move to continue the status conference to July 16,

 7 2020, and to exclude time between April 2, 2020, and July 16, 2020, under Local Code T4, in addition

 8 to the exclusion of time the Court has already ordered in light of public health concerns cited by General

 9 Order 611.

10          3.      The parties agree and stipulate, and request that the Court find the following:

11                  a)     The government has produced discovery in this matter including investigative

12          reports, photographs, and laboratory reports. The government is also in the process of producing

13          or making available to the defense audio and video recordings.

14                  b)     Counsel for defendants will need additional time to review the discovery.

15          Defense counsel will also need time to review the current charges, to investigate and conduct

16          research related to the current charges, and to discuss potential resolutions with their clients, to

17          prepare pretrial motions, and to otherwise prepare for trial.

18                  c)     Counsel for defendants believe that failure to grant the above-requested

19          continuance would deny them the reasonable time necessary for effective preparation, taking into

20          account the exercise of due diligence.

21                  d)     The government does not object to the continuance.

22                  e)     Based on the above-stated findings, the ends of justice served by continuing the

23          case as requested outweigh the interest of the public and the defendant in a trial within the

24          original date prescribed by the Speedy Trial Act.

25                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26          et seq., within which trial must commence, the time period of the date of this stipulation and

27          order, to July 16, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

28          B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendant’s

      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00177-JAM Document 61 Filed 04/14/20 Page 4 of 4


 1          request on the basis of the Court’s finding that the ends of justice served by taking such action

 2          outweigh the best interest of the public and the defendant in a speedy trial.

 3          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6          IT IS SO STIPULATED.

 7   Dated: April 10, 2020                           MCGREGOR W. SCOTT
                                                     United States Attorney
 8
                                                     /s/ JAMES R. CONOLLY
 9                                                   JAMES R. CONOLLY
                                                     Assistant United States Attorney
10
     Dated: April 10, 2020                           /s/ LEXI NEGIN
11
                                                     LEXI NEGIN
12                                                   Counsel for Defendant
                                                     GILDARDO BARRIOS
13   Dated: April 10, 2020                           /s/ MARY ANN F. BIRD
                                                     MARY ANN F. BIRD
14                                                   Counsel for Defendant
                                                     MARISA MUNGUIA
15   Dated: April 10, 2020                           /s/ DANIEL L. OLSEN
16                                                   DANIEL L. OLSEN
                                                     Counsel for Defendant
17                                                   MARIA DOLORES BARRIOS-ALVAREZ

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19
20                                                    ORDER

21          IT IS SO ORDERED.

22 Dated: April 13, 2020

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      STIPULATION REGARDING EXCLUDABLE TIME               4
30    PERIODS UNDER SPEEDY TRIAL ACT
